         18-22045-rdd       Doc 11-1      Filed 06/04/18 Entered 06/04/18 13:42:56            Order to
                                              Dismiss Pg 1 of 1
                             UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF NEW YORK
                                             300 Quarropas Street
                                             White Plains, NY 10601


IN RE: Lisa M. Chang                                      CASE NO.: 18−22045−rdd

Social Security/Taxpayer ID/Employer ID/Other Nos.:       CHAPTER: 13
xxx−xx−9049




                                         NOTICE OF DISMISSAL



An order of dismissal was entered by the Honorable Robert D. Drain in this Chapter 13 case.

Lisa M. Chang was dismissed from the case on June 4, 2018 .




Dated: June 4, 2018                                       Vito Genna
                                                          Clerk of the Court
